Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 1 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 2 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 3 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 4 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 5 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 6 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 7 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 8 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 9 of 11
Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 10 of 11




                                  MELANIE KREBS   Digitally signed by MELANIE
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Case 1:23-cr-00284-JDB Document 19 Filed 11/07/23 Page 11 of 11
